                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 DANIELLE FLEMING, AUSTIN                             §
 FLEMING, AND SOLD IN A SNAP LLC,                     §
                                                      §
           Plaintiffs,                                §         CIVIL ACTION NO. 4:21-cv-1263
                                                      §
 v.                                                   §
                                                      §
 HEARST NEWSPAPERS, LLC D/B/A                         §
 HOUSTON CHRONICLE A/K/A                              §
 HOUSTONCHRONICLE.COM A/K/A                           §
 CHRON.COM AND MOVE, INC. D/B/A                       §
 REALTOR.COM                                          §
                                                      §
           Defendants.                                §

      DEFENDANT MOVE INC.’S CERTIFICATE OF INTERESTED PARTIES AND
                               ENTITIES

       Pursuant to the Court’s May 3, 2021 Order for Conference and Disclosure of Interested

Parties (ECF No. 5), Defendant Move, Inc. d/b/a Realtor.com states that the following persons and

entities are financially interested in the outcome of this litigation, to the best of Move’s knowledge:

       •         Danielle Fleming (Plaintiff)

       •         Austin Fleming (Plaintiff)

       •         Sold in a Snap LLC (Plaintiff)

       •         Move, Inc. d/b/a Realtor.com (Defendant)

       •         News Corporation (Parent of Move, Inc.)

       •         REA Group Ltd. (Partial Owner of Move, Inc.)

       •         Hearst Newspapers, LLC d/b/a Houston Chronicle a/k/a HoustonChronicle.com

a/k/a Chron.com (Defendant)




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       •      The Hearst Corporation (Owner and Ultimate Corporate Parent of Hearst

Newspapers, LLC), and certain wholly owned subsidiaries of The Hearst Corporation.

       •      Plaintiffs’ Counsel:   John A. Powell
                                     Naman, Howell, Smith & Lee, PLLC
                                     400 Avenue, Suite 800
                                     P.O. Box 1470
                                     Waco, TX 76703-1470

       •      Defendant Move, Inc.’s Counsel:     Penn C. Huston
                                                  MouerHuston PLLC
                                                  349 Heights Blvd.
                                                  Houston, TX 77007

                                                  David R. Singer
                                                  Christopher S. Lindsay
                                                  Jenner & Block LLP
                                                  633 W. 5th Street, Suite 3600
                                                  Los Angeles, CA 90071

       •      Defendant Hearst Newspapers, LLC’s Counsel:       Ravi V. Sitwala
                                                                The Hearst Corporation
                                                                300 W. 57th Street
                                                                New York, NY 10019

Dated: May 25, 2021


                                           Respectfully submitted,


                                           MOUERHUSTON PLLC

                                           By: /s/ Penn C. Huston
                                                Penn C. Huston
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                                                Counsel for Move, Inc.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 25, 2021, a true and correct copy of the foregoing was served
on all counsel of record via CM/ECF.



                                                    /s/ Penn C. Huston
                                                    Penn C. Huston




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